                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION – FLINT


IN RE:
                                                          Case No. 12-32264-dof
         CHRISTOPHER D. WYMAN,                            Chapter 7 Proceeding
                                                          Hon. Daniel S. Opperman
              Debtor.
______________________________________/
SAMUEL D. SWEET, Chapter 7 Trustee,
      Plaintiff/Counter-Defendant,
                                                          Adversary Proceeding
v.                                                        Case No. 19-03018-dof

BARBARA DUGGAN,
      Defendant/Counter-Claimant.
______________________________________/

       ORDER ESTABLISHING DEADLINES TO FILE SUPPLEMENTAL PLEADINGS

         The Court held a status conference on September 6, 2022 and concluded that a deadline

should be established for Plaintiff/Counter-Defendant Samuel D. Sweet to file supplemental

pleadings raising remaining issues.

         NOW, THEREFORE, IT IS HEREBY ORDERED that Plaintiff/Counter-Defendant

Samuel D. Sweet must file any supplemental pleadings raising remaining issues on or before

September 30, 2022. Any responsive pleadings must be filed as allowed by the Federal Rules of

Bankruptcy Procedure and the Local Rules for the Bankruptcy Court for the Eastern District of

Michigan.

Signed on September 7, 2022




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